                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROINA
                                       DIVISION


UNITED STATES OF AMERICA

             VS.

                                                         o R DE R


      IT IS HEREBY ORDERED that the following government exhibit(s)

admitted into evidence on    .~ ~
                                ~I
                                  I~ d.C./b be turned over
to Special Agent    ~...:. ~ ~ ,
to be retained in his custody until this case is completed, includ­

ing any matters on appeal:

      GOVERN. EXHIBIT NO.:          DESCRIPTION:

      ~s~
        ~     'S"/_
      ~ 3'~
         cg 31




      This             day of


                                                        DISTRICT JUDGE

Received by Agent
                             c-~~ture) on                 (date)


                           ~      ~                   7/z;?P 6     I

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